Case No. 1:13-cv-01300-MSK-MJW Document 70-6 filed 08/22/13 USDC Colorado pg 1 of
                                      8




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 13-CV-1300-MSK-MJW

   JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.

         Plaintiffs,

   vs.

   JOHN W. HICKENLOOPER, Governor of the State of Colorado,

         Defendant.

           RESPONSE OF CUSTER COUNTY SHERIFF FRED JOBE TO
                   DEFENDANT’S INTERROGATORIES

          Sheriff Jobe, by and through his undersigned counsel, and pursuant to Fed.
   R. Civ. P. 33(b), hereby responds to Defendant’s Interrogatories as follows:

                              GENERAL OBJECTIONS

         Where no objection is interposed, the responses below reflect all responsive
 information and documents identified by Sheriff Jobe before the date of the
 responses, pursuant to a reasonable and diligent search and investigation conducted
 in connection with this discovery. To the extent the discovery purports to require
 more, Sheriff objects on the grounds that (a) the discovery seeks to compel him to
 conduct a search beyond the scope of permissible discovery contemplated by the
 Federal Rules of Civil Procedure, and (b) compliance with the discovery would be
 oppressive, and would impose an undue burden or expense.

         Sheriff Jobe’s discovery responses are also made subject to the ongoing
   discovery and trial preparation in this case. These discovery responses are made
   based on the best information, including facts available as of the date of such
   responses. Sheriff Jobe reserves the right to amend, supplement, or change these
   discovery responses as permitted or required under the Federal Rules of Civil
   Procedure based on additional information obtained through the discovery and trial
   preparation process.

         Sheriff Jobe makes each individual response subject to and without waiving
   the conditions and objections that are stated in the sections of these responses



                                            1
Case No. 1:13-cv-01300-MSK-MJW Document 70-6 filed 08/22/13 USDC Colorado pg 2 of
                                      8




   entitled “General Objections” and “Objections to Instructions and Definitions” and
   that are specifically referred to in that particular individual response.

          Sheriff Jobe makes each individual response without adopting in any way
   (unless otherwise stated) the terms and phrases that Defendant purports to define
   in his discovery. When Sheriff Jobe uses words or phrases that Defendant has
   purported to define, those words and phrases should be given either (a) the meaning
   set out by Sheriff Jobe in his responses, or in its objections to the specific
   definitions, or (b) the ordinary meaning of such words or phrases.


              OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

          Defendant has purported to define several terms used in his discovery. In his
   responses, Sheriff Jobe gives ordinary words and phrases their ordinary meaning.
   By making this written response, Sheriff Jobe does not (a) adopt any purported
   definition, (b) waive or limit its objections to Defendant’s purported definitions, or
   (c) concede the applicability of any such definition to any term or phrase that might
   be contained in written responses. Wherever these words are used in Defendant’s
   interrogatories, these objections and these clarifications are incorporated, unless
   otherwise specified in the request.

          Defendant purported to define “you” and “your” to include “counsel for
   Plaintiffs.” Sheriff Jobe objects to this definition to the extent that it purports to
   require the disclosure of information, communications, or documents protected from
   disclosure by the attorney-client privilege, work product immunity, or any other
   privilege or immunity.

   RESPONSES

   1. With respect to each and every home invasion or “robbery in the home” to which
   your department has responded since January 1, 2004, please:

      a. describe the circumstances surrounding the home invasion/robbery in the
         home, including: the date and location (by city and county), the number of
         perpetrators involved, whether or not the perpetrator(s) carried firearms, and
         whether or not the perpetrator(s), victim(s), or others fired any shots;

   Response: The Custer County Sheriff's Office has no records of home invasions or
   robberies during this time frame.




                                             2
Case No. 1:13-cv-01300-MSK-MJW Document 70-6 filed 08/22/13 USDC Colorado pg 3 of
                                      8




         b. if a firearm was fired or otherwise used or displayed by any person,
         identify who used, displayed, or discharged the firearm, the manner in which
         they did so, whether the firearm used a magazine, the capacity of any
         magazines from which bullets were fired, the number of rounds fired by each
         individual, and whether any person was shot;

   Response: Sheriff Jobe objects to this interrogatory on the ground that the phrase
   “otherwise used or displayed” is vague and ambiguous. Subject to and without
   waiving this objection: Not applicable.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.


   2. With respect to each and every occasion when you, your predecessor(s) in office,
   or a sheriff’s deputy has discharged a firearm in the course of duty since January 1,
   2004 (not including firearm practice or training), please:

   a. describe the circumstances surrounding the firearm discharge, including the
   date, location (by city and county), the reason for the firearm discharge, and
   whether you, your predecessor(s), or deputy were fired upon;

   Response: Sheriff Jobe objects to this interrogatory on the ground that it is
   overbroad and not reasonably calculated to lead to the discovery of admissible
   evidence. Subject to and without waiving this objection:

   April 16, 2010 – A Custer County Sheriff's deputy responded to a call from a
   restaurant about a disturbed individual who refused to leave, Upon arriving, the
   deputy witnessed the suspect leave in a black SUV with the hatch up thus stopping
   the officer from noting the license plate number. The deputy turned on his
   emergency lights and the suspect stopped one block down the road. After the stop
   was initiated, the suspect and officer both got out of their vehicles. The officer
   pulled out a baton when the suspect refused to remove his hands from his pockets.
   The suspect then removed his hands from his pockets and withdrew a knife. At this
   point the deputy dropped the baton and drew his Glock .40 caliber semi-automatic
   pistol with a 15 round magazine. As the suspect lunged at the deputy, the deputy
   fired two shots, hitting the suspect in the torso and killing him.


   b. if a firearm was fired by any person involved in the event, identify who fired the
   firearm, whether the firearm used a magazine, the capacity of any magazines from

                                             3
Case No. 1:13-cv-01300-MSK-MJW Document 70-6 filed 08/22/13 USDC Colorado pg 4 of
                                      8




   which bullets were fired, the number of rounds fired by each individual, and
   whether any person was shot;

   Response: Sheriff Jobe objects to this interrogatory on the ground that the word
   “event” is vague. Subject to and without waiving this objection: Two bullets were
   fired by the deputy from a Glock .40 caliber with a 15 round magazine.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: The suspect died at the scene from being shot twice by the deputy.

   3. With respect to the allegations of paragraph 102 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 1973 in which you or your
   predecessors in office requested the armed assistance of able-bodied adults (“posse
   comitatus”). In your response, state in detail the circumstances surrounding each
   such request, including:

   a. the reason for the request, the number of individuals who responded to the
   request, whether such individuals were law enforcement officers or were deputized
   for the purposes of participating, and whether these individuals were required by
   you or your predecessors to carry firearms in connection with their participation;

   Response:

   The Custer County Sheriff's Posse was established on April 2, 2003, as a volunteer
   organization to assist the Custer County Sheriff's Office. The posse assists with
   parades, traffic control, crowd control, road closures, searches, inmate transfers and
   detention detail. There is a limit of 40 members, and currently 25 are certified to
   carry handguns while 16 are certified to carry shotguns.

   Posse members receive firearms training from the Custer County Sheriff’s Office;
   they are not required to be POST-certified.

   Below is a list of some of the events or incidents where the posse was utilized. For a
   complete list, please see the Posse Background and Custer County Sheriff's Posse
   Policies and Procedures handbook, which were included in the production of
   documents.

   July 21-22, 2004 – Six posse members assisted the Custer County Sheriff's Office in
   locating several inmates who had escaped.




                                             4
Case No. 1:13-cv-01300-MSK-MJW Document 70-6 filed 08/22/13 USDC Colorado pg 5 of
                                      8




   April 30, 2005 – One posse member assisted the Sheriff's Office with the searching
   of a house.

   July 29, 2005 – One posse member assisted with watching inmates.

   March 30-31, 2006 – Three posse members assisted with drug surveillance at a local
   apartment complex.

   August 16-17, 2006 – One posse member assisted the deputies in their search for a
   homicide suspect.

   November 27, 2006 – Three posse members assisted deputies with a search warrant
   regarding a teen suicide.

   November 9-11, 2007 – Four posse members assisted deputies who were
   investigating an animal cruelty case.

   July 4, 2008 – One posse member assisted deputies in executing a search warrant
   and arresting an individual.

   September 9, 2008 & September 12, 2008 – Three posse members assisted in the
   search for a fugitive.

   October 13, 2008 – Three posse members assisted with a hostage situation where
   someone had barricaded themselves in a house.

   October 23, 2008 – Four posse members guarded the home of a teacher who had
   received death threats.

   March 3, 2009 – Two posse members assisted in the investigation of a break in that
   occurred at a local school.

   May 10, 2010 – Two posse members assisted a woman who had been locked in a
   campground.

   July 3-4, 2011 – Three posse members provided assistance in watching over the
   bodies and evidence at a plane crash site.

   January 21, 2012 – Two posse members assisted in the search for a missing child.

   February 16, 2012 – Two posse members assisted with the search for an 80 year old
   man who suffered from dementia.




                                            5
Case No. 1:13-cv-01300-MSK-MJW Document 70-6 filed 08/22/13 USDC Colorado pg 6 of
                                      8




   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: None.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: None.

   4. With respect to the allegations of paragraph 103 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 when you or your
   predecessors appointed deputies who were not certified peace officers. In your
   response, state in detail:

   a. the date and duration of each individual’s appointment, the circumstances
   surrounding the need for the “non-certified” deputy, whether the non-certified
   deputy was required to carry a firearm, whether the “non-certified” deputy carried a
   firearm he/she supplied or a firearm supplied by the sheriff’s office, and whether
   any non-certified deputy ever discharged a firearm;

   Response: We have 5 non-certified jail deputies who also do transports, and they
   are armed at the times of transporting inmates. They all supply their own weapons.
   None have had to discharge their weapons.



   b. the circumstances surrounding the discharge of the non-certified deputy’s
   firearm, including: the date and location of the event, whether the non-certified
   deputy was fired upon, the number of rounds fired by the non-certified deputy, the
   number of rounds fired by others involved in the event, the capacities of magazines
   from which bullets were fired, and whether any individual was shot;

   Response: None.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.

                                             6
Case No. 1:13-cv-01300-MSK-MJW Document 70-6 filed 08/22/13 USDC Colorado pg 7 of
                                      8




   5. Describe every occasion since January 1, 2004 when you, your predecessor
   sheriff(s), a sheriff’s deputy, or a family member living with these individuals has
   discharged or otherwise used or displayed a firearm in defense of self, home, or
   other family members. In your response, describe the circumstances surrounding
   each event, including: the events leading to the use, display, or discharge of the
   firearm, the number of rounds fired by you or others, and the capacity of magazines
   used by firearms that were discharged. If any person was shot, identify the
   individuals who inflicted and suffered any gunshot injuries and state whether any
   individual was killed.

   Response: Sheriff Jobe objects to this interrogatory on the ground that the phrase
   “otherwise used or displayed” is vague and ambiguous. Subject to and without
   waiving this objection: To my knowledge, no sheriff, deputy or family member has
   had to display or discharge a firearm in order to protect themselves, their family or
   their home.


   6. With respect to the allegations of paragraph 105 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 in which you or your
   predecessors in office requested armed citizen assistance for emergencies and
   natural disasters. In your response, state in detail the circumstances surrounding
   each such request, including:

   a. the reason for the request, the number of individuals who responded to the
   request, and whether such individuals were law enforcement officers or were
   deputized for the purposes of participating, and whether these individuals were
   required by you or your predecessors to carry firearms;

   Response: No such request has been made, other than as described in question set
   3.


   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: Not applicable.



                                             7
Case No. 1:13-cv-01300-MSK-MJW Document 70-6 filed 08/22/13 USDC Colorado pg 8 of
                                      8




   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.



   AS TO OBJECTIONS:
                                          s/David B. Kopel
                                          INDEPENDENCE INSTITUTE
                                          727 E. 16th Avenue
                                          Denver, CO 80203
                                          Phone: (303) 279-6536
                                          Fax: (303) 279-4176
                                          david@i2i.org

                                          ATTORNEY FOR SHERIFFS AND DAVID
                                          STRUMILLO

   AS TO RESPONSES:
          Pursuant to 28 U.S.C. § 1746, I, Fred Jobe, do hereby verify under penalty of
   perjury that the foregoing responses to Defendant’s Interrogatories are true and
   correct to the best of my information and belief.

         Dated this 13th day of August, 2013.

                                          ______              _____________
                                          s/Sheriff Fred Jobe




                                             8
